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12
                                 UNITED STATES DISTRICT COURT
13
                                CENTRAL DISTRICT OF CALIFORNIA
14
15    ENTROPIC COMMUNICATIONS,                  No. 2:23-cv-1048-JWH-KES
      LLC,                                      No. 2:23-cv-1050-JWH-KES
16
                      Plaintiff,                Assigned to Hon. John W. Holcomb
17
              v.                                DECLARATION OF
18                                              DAVID L. MARCUS IN SUPPORT OF
      COMCAST CORPORATION;                      COMCAST DEFENDANTS' MOTION
19    COMCAST CABLE                             TO DISMISS UNDER FED. R. CIV. P.
      COMMUNICATIONS, LLC; AND                  12(B)(l)
20    COMCAST CABLE
      COMMUNICATIONS                            Date: June 30, 2023
21    MANAGEMENT, LLC                           Time: 9:00 a.m.
                                                Courtroom: 9D
22    Defendants.
23
24
25                       REDACTED/PUBLIC VERSION OF DOCUMENT
                            PROPOSED TO BE FILED UNDER SEAL
26
27
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     DECL. OF DAYID L. MARCUS                                 CASE NO. 2:23-CV-1048-JWH-KES
                                                              CASE NO. 2:23-CV-1050-JWH-KES
